
ORDER
PER CURIAM
On consideration of the certified order suspending respondent from the practice of law in the state of Maryland for a period of sixty days, this court’s August 26, 2016, order suspending respondent pending further action of the court and directing him to show cause why he should not be suspended for a period of sixty days as reciprocal discipline, the statement of respondent asking that the court not suspend him, the statement of Disciplinary Counsel regarding reciprocal discipline, and respondent’s D.C. Bar R. XI, § 14 (g) affidavit filed on September 22, 2016, it is
ORDERED that Larry D. Hunt is hereby suspended from the practice of law in the District of Columbia for a period of sixty days, nunc pro tunc to September 22, 2016.
